         Case 1:22-cr-00061-RBW Document 28 Filed 05/16/22 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :       CASE NO. 22-CR-61-RBW
              v.                           :
                                           :
JON NICHOLAS HENEGHAN,                     :
CAROL O’NEAL KICINSKI,                     :
                                           :
                     Defendants.           :

                                NOTICE OF FILING

       The defendants and their counsel have signed Attachment A to the Motion for a Protective
Order, and it is files hereto.



                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           UNITED STATES ATTORNEY
                                           D.C. Bar Number 481052


                                    By:        /s/ Mona Lee M. Furst
                                           MONA LEE M. FURST
                                           Assistant United States Attorney
                                           Detailee – Federal Major Crimes
                                           Kansas Bar No. 13162
                                           United States Attorney’s Office
                                           1200 Epic Center, Suite 1200
                                           Wichita, Kansas 67202
                                           Mobile No. (316) 269-6537
                                           Mona.Furst@usdoj.gov
